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                         EXHIBIT 22
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                   BALTIMORE DIVISION


National Association of Diversity Officers in
Higher Education, et. al.,
                                                         Civil Action No. 1:25-cv-333-ABA
                      Plaintiffs,

          v.

Donald J. Trump, in his official capacity as
President of the United States,

                      Defendant.


                                DECLARATION OF FAITH LEACH


          I, Faith Leach, declare as follows:

Background

               1. I am over eighteen years old, of sound mind, and fully competent to make this

declaration. I also have personal knowledge of the factual statements contained herein.

               2. I am the Chief Administrative Officer of the City of Baltimore. I have served in

this role since March 2023.

               3. In my role, I manage the day-to-day government operations across the entire City

enterprise, ensuring the effective, efficient, and equitable delivery of City services.

               4. The City of Baltimore is a municipal corporation organized pursuant to Articles

XI and XI-A of the Maryland Constitution, entrusted with all the powers of local self-

government and home rule afforded by those articles.

               5. Baltimore is the largest city in Maryland and the thirtieth largest city in the United

States.
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           6. Baltimore is a city of nearly 600,000 people of all backgrounds. According to the

2020 Census, 60 percent of Baltimore’s population is Black, 27 percent is White, 8 percent is

Hispanic or Latino, and 2.5 percent is Asian. Five percent of the City was identified by the

Census as being of two or more races.

Baltimore’s Commitment to Diversity, Equity, Inclusion, and Accessibility

           7. Baltimore’s diversity is its strength, and the City has made significant efforts to

embrace people from all backgrounds to strengthen itself economically and socially. Baltimore is

committed to building a more equitable city for families to thrive.

           8. Mayor Brandon Scott has said from the beginning of his tenure that equity is his
guiding principle, imbued into all aspects of the City’s work, from investing in the City’s Black

and Brown neighborhoods and businesses, to governance decisions and ensuring all residents get

what they need.

           9. As part of its commitment to equity, Baltimore works tirelessly to foster a

community that welcomes and serves all residents, regardless of race, ethnicity, gender, sexual

orientation, disability, religion, or immigration status.

           10. Baltimore has an Office of Equity and Civil Rights (“OECR”) devoted to

activities to eliminate inequity, inequality, and discrimination. The OECR works to advance

equity and uphold federal and local civil rights laws, including by enforcing the local living and

prevailing wage laws, ensuring access and equal opportunities for persons with disabilities, and

providing oversight of local law enforcement. The OECR’s mission is to eliminate inequity,

inequality, and discrimination.

           11. The OECR consists of the Police Accountability Division, the Community

Relations Commission, the Mayor’s Commission on Disabilities, the Wage Commission, the




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Women’s Commission, and the Equity Office.

           12. OECR’s Equity Office ensures that Baltimore’s policies, programs, and budget

are fair and meet the needs of Baltimore’s diverse communities, in part by offering diversity,

equity, and inclusion trainings to City agencies. The Equity Office also administers an Equity

Assistance Fund, which supports programs and activities that provide equity in housing and

equitable access to education, assists in efforts to redress past inequities in City capital budget

spending, and eliminates structural and institutional racism and other forms of discrimination

based on immutable characteristics.

           13. The Mayor’s Commission on Disabilities is also part of OECR. The Commission

works to remove barriers and promote equal rights and opportunities for individuals with

disabilities by advising the City on accessibility and compliance with the Americans with

Disabilities Act, running programs and services for those with disabilities, and helping provide

information and education programs for government, business, and industries regarding

reasonable accommodations for people with disabilities.

           14. Each year, OECR hosts a celebratory Civil Rights Week. The celebration

highlights OECR’s work over the past year and pays tribute to people who have improved the

quality of life in Baltimore over the past year.

           15. Last year’s Civil Rights Week included programs on “Women of Courage:

Baltimore’s Civil Rights Trailblazers” that honored the remarkable contributions of female

trailblazers in Baltimore’s Civil Rights Movement; “Immigration and Inclusion: A History of

Struggle and Progress,” a Spanish-language program that examined the struggle for and progress

towards inclusion for immigrants in various sectors of Baltimore society, including housing,

economic development, and healthcare; “From Protest to Progress: The History of the Prince




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Hall Free Masons in Baltimore and Beyond,” which explored the relationship between Prince

Hall Freemasonry and Historically Black Colleges and Universities, from early struggles to

provide educational opportunities for Black people to the ongoing cultural and economic support

of Masonry to Morgan State, to a reminder of the much-needed work to build a future of

achievement; “Inclusion at Every Stage and Every Age,” which gave children with disabilities

and their families and caregivers a day of fun-filled programming; and “From Protest to

Progress: How the Birthplace of Redlining Turned into the Black Butterfly,” which discussed the

history of redlining in Baltimore and the attempts by the City to reverse the effects in the

community.

           16. Baltimore also runs a “Warm Welcome” program, a free diversity, equity,

inclusion, and accessibility training program for Baltimore businesses that encourages them to

embrace those values through tangible and meaningful actions that support colleagues,

neighbors, and visitors alike. The Warm Welcome program has been recognized in national

tourism publications and by countless visitors that have felt the impact from the participation of

over one hundred businesses.

Baltimore’s Federal Contract and Grants

           17. Baltimore is both a federal government contractor and grantee. Federal funding is

crucial to serving Baltimore’s residents in countless ways. This funding helps support a range of

Baltimore’s services and programs, including public safety, housing, the environment, the local

economy, infrastructure, and accessibility for its citizens with disabilities. At the most

fundamental level, federal funds help provide Baltimore residents with food, infrastructure,

energy, and weather resilience.

           18. All told, Baltimore currently receives around $270 million in active federal




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grants, which includes funding for programs covered under the Justice40 Initiative intended to

benefit disadvantaged communities. The Justice40-covered programs, which spanned across the

government, were developed, in part, pursuant to Executive Order 14008, which President

Trump rescinded on January 20, 2025, by Executive Order 14148. By design, many of the

Justice40-covered grants provide targeted support for historically underserved groups. Many of

Baltimore’s Justice40-covered grants necessarily touch on themes of equity and inclusion.

           19. Baltimore receives $500,000 from the Department Energy’s Weatherization

Assistance Program to improve energy efficiency in Baltimore homes. The Secretary of Energy

is authorized to administer this grant program “for the purpose of providing financial assistance

with regard to projects designed to provide for the weatherization of dwelling units, particularly

those where elderly or handicapped low-income persons reside, occupied by low-income

families.” 42 U.S.C. § 6863(a).

           20. Similarly, Baltimore has received at least $850,000 for its Y-SURGE project

through the Department of Health and Human Services’ Family Planning Service Delivery

Improvement Research Grant program. Y-SURGE provides funding for youth (age 15-24)

clinical services and addresses the special needs of lesbian, gay, bisexual, transgender, queer (or

questioning), intersex, asexual, and disconnected youth. The project aims to increase these young

people’s use of services and decrease disparities of rates of teen birth, STI, and HIV across race,

ethnicity, and sexual orientation.

           21. Baltimore also receives funding through the CDC’s Public Health Infrastructure

Grant program, which aims to ensure state and local health departments have the resources to

deliver basic services by supporting critical public health infrastructure needs. The Baltimore

City Health Department uses PHIG funding to support its DEI Coordinator position. The DEI




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Coordinator is an integral part of the BCHD’s Equity Strategy. Because of the history of inequity

across healthcare, BHCD considers addressing those disparities to be a core public health

infrastructure need. As part of her role, the DEI Coordinator provides a range of equity-related

services to the organization, including co-leading the Equity Committee, creating training

material, and hosting feedback sessions for LGBT staff.

           22. Without the BCHD’s DEI Coordinator, the department, in the short term, would

have to eliminate 12 upcoming staff trainings as well as equity content for all staff members and

in-house guidance on LGBT-related concerns and the community. These trainings are critical, in

the long term, to ensuring that agency staff are able to appropriately address the history of

mistreatment of marginalized groups in the healthcare system and treat those that the Department

serves with dignity and respect.

Consequences of President Trump’s Executive Order 14151 (Section 2)

           23. I understand that, on January 20, 2025, President Trump signed an executive

order titled “Ending Radical and Wasteful Government DEI Programs and Preferencing” (the

“J20 Order”).

           24. The J20 Order directs federal executive branch officials to “[a]s appropriate” to

“terminate, to the maximum extent allowed by law . . . ‘equity-related’ grants or contracts”

within sixty days of the order. The term “equity-related” is not defined in the J20 Order.

           25. Baltimore has received federal grants that could be considered “equity-related.”

           26. For example, the Weatherization Assistance Program grant that Baltimore

receives is intended to provide equitable access to weatherization for low-income elderly people

or people with disabilities and their families.

           27. And Baltimore’s federally funded Y-SURGE project is intended to increase




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equitable access to clinical services for young people and decrease health disparities across race,

ethnicity, and sexual orientation.

             28. Through Baltimore’s PHIG funding, the BCHD maintains a DEI Coordinator,

who works with BCHD staff to ensure constituents are treated with appropriate dignity and

respect.

             29. These are just a few examples of federal grants that Baltimore receives which

could be considered “equity-related.”

             30. Baltimore, accountable for a wide range of services supported by federal funding

that could be considered “equity-related,” faces a quandary. The uncertainty of federal funding

leaves the City wondering whether it needs to start reallocating resources—and likely reduce

support for other programs or shutter some altogether—just to sustain certain critical municipal

functions.

Consequences of President Trump’s Executive Order 14173 (Section 3)

             31. I understand that, on January 21, 2025, President Trump signed an executive

order titled “Ending Illegal Discrimination and Restoring Merit-Based Opportunity” (the “J21

Order”).

             32. The J21 Order requires federal contractors and grantees to “certify that they do

not operate any programs promoting DEI that violate any applicable Federal anti-discrimination

laws.” Section 3(b)(iv)(B) (the “Certification Requirement”). And another section suggests that

Baltimore and other federal grantees may face civil enforcement and penalties under the False

Claims Act. Section 3(b)(iv)(A).

             33. The J21 Order does not define what “programs promoting DEI” are or why such

programs might violate anti-discrimination laws.




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              34. The J21 Order does not otherwise clarify which DEI or DEIA practices,

programs, or services are prohibited.

              35. Because the Certification Requirement does not explain which “programs

promoting DEI” President Trump purports to prohibit, Baltimore fears it may have to abandon its

lawful efforts and speech related to diversity, equity, inclusion, and accessibility, or else lose

federal funds that support the City’s valuable programs.

              36. As a result, Baltimore doesn’t know whether, to continue receiving federal

funding, it must refrain from expressing its values or offering crucial services to its residents and

visitors alike.

              37. For example, many of the events and panels from last year’s Civil Rights Week

celebration touched on topics related to diversity, equity, inclusion, and accessibility. Baltimore

is uncertain whether, to comply with the Certification Provision, it would have to refrain from

hosting such panels in the future, or perhaps even cancel Civil Rights Week altogether.

              38. Similarly, Baltimore does not know whether it can continue its nationally

recognized Warm Welcome program because it encourages local business to commit to

embracing diversity, equity, and inclusion. Eliminating that program would threaten to make

Baltimore less welcoming for those visiting the Charm City.

              39. Baltimore is also uncertain whether, to comply with the Certification Provision, it

would have to shutter other programs central to the City’s values through which it expresses its

commitment to diversity, equity, inclusion, and accessibility. For instance, the City does not

know whether it must shut down the OECR Mayor’s Commission on Disabilities, the OECR

Equity Office’s Equity Assistance Fund, the OECR Equity Office itself, and/or the OECR

altogether.




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            40. Several of Baltimore’s programs offer trainings to help City agencies, local

business, and other citizens learn how they can best advance equity. Yet because of the lack of

guidance in the J21 Order, Baltimore fears it may lose federal funding for speaking its values

through these trainings.

            41. And the City suffers further chilling of its speech and expression because the

Certification Requirement includes no timetable for its implementation. Baltimore cannot know

whether the agencies overseeing its grant programs will insert the required certifications into

active grants that Baltimore has already been awarded.

            42. The City wants to continue operating these programs and hosting these events, but

doing so could present an existential threat under the J20 and J21 Orders: loss of all federal

grants and contracts or even criminal investigation and prosecution.


       Under 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.




Executed:         February 12, 2025



                                                   By:
                                                         Faith Leach
                                                         Chief Administrative Officer
                                                         City of Baltimore




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